Case 19-20347-rlj11 Doc 8 Filed 11/07/19 Entered 11/07/19 10:38:45 Page1of5

Patrick A. Swindell (SBN 19487450)

S winner. Law Firm

106 SW 7th Ave.

Amarillo, TX 79101

{806} 374-7979

(806) 374-1991 FAX

E-mail: pat@swindellandassociates.com

PROPOSED ATTORNEYS FOR KRISU HOSPITALITY, LLC
DEBTOR AND DEBTOR IN POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

IN RE:

Case No. 19-20347

KRISU HOSPITALITY, LLC , (Chapter 11)

Debtor.

GD CD OG ir OG GOD

 

MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS,
SCHEDULES, AND STATEMENTS PURSUANT TO BANKRUPTCY
RULE 1007

TO THE HONORABLE ROBERT L. JONES, U.S. BANKRUPTCY JUDGE:
Krisu Hospitality, LLC debtor and debtor in possession (“Krisu” or the “Debtor”) file this
Motion of Debtor to Extend Time for Filing Certain Lists, Schedules, and
Statements Pursuant to Bankruptcy Rule 1007 (the “Motion to Extend Time
(Schedules)”) and in support thereof would show the Court the following.
INTRODUCTION
1. This motion seeks authorization for the Debtor to file schedules, equity security holders
list, and the SOFA on or before December 4, 2019 As of the filing of this motion, the date and time of

the Code §341 meeting of creditors is not yet set.

 

MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
PURS UANT TO BANKRUPTCY RULE 1007 — Page 39 [L4]
Case 19-20347-rlj11 Doc 8 Filed 11/07/19 Entered 11/07/19 10:38:45 Page 2of5

JURISDICTION AND VENUE

2. The Court has jurisdiction over this action pursuant to, and without limitation §§ 105,

363, 507, and 1101 et seq. of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the

“Code”).
3. Venue action is proper in this Court pursuant to 28 U.S.C. § 1409.
4. The Court may try this action to a conclusion and enter final orders under Stern v.

Marshall, 131 S. Ct. 2594 (U.S. 2011),
FACTUAL BACKGROUND
The identify and background of the Debtors and Debtors in Possession.
5. Krisu constructed, and owns and operates the LaQuinta Inn & Suites hotel n Pampa,
Texas,

The Commencement of the Bankruptcy Case.

6. On November 5, 2019, Krisu commenced the above-captioned Chapter 11 case by
filing a voluntary petition.

7, The factors leading to the commencement of this case include the (1) lingering effects of
replacement of the original gencral contractor and delayed opening of the hotel, (2) changes in the
Choice- Wyndham reservations and payment system which interrupted receipts on corporate accounts,
and (3) difficult cconomic conditions in the rural Texas Panhandle resulting from fluctuations in the
energy industry.

Factual background in support of the relief requested, and basis of relief.

8. Knisu has filed its ist of the twenty largest unsecured creditors.

 

* Since the initial filing of this case, the Debtor has determined that il is no a sivall business under Code § 101(51C).

 

MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
PURS UANT TO BANKRUPTCY RULE 1007 — Page 40 114]
Case 19-20347-rlj11 Doc 8 Filed 11/07/19 Entered 11/07/19 10:38:45 Page 3of5

9. Debtor seeks an extension of time to file its schedules and other initial pleadings to
December 4, 2019.

10, Bankruptcy Rules 1007(a)(5) and (c) authorizes the Court to grant an extension of the
date by which the lists and the schedules and statements of the Dcbtor must be filed pursuant to
Bankruptcy Rule 1007, "on motion for cause shown."

Il. Cause exits for an extension due to the suddenness with which the Debtor was forced
to commence this case and the lack of preparation prior to such case.

12. The undersigned counsel commenced his representation of Krisu on November 2, 2019
atter prior counsel who was planning to commence this case withdrew upon the discovery ofa conflict
of terest.

13, Notice of this Motion has been provided to the Office of the United States Trustee for
the Northem District of Texas, and all registered ECF users who have appeared in this case to date.

RELIEF REQUESTED

14. Accordingly, pursuant to Rule 1007, Krisu respectfully requests an extension through
and until December 4, 2019 the time to permitted to file its schedules, list of equity security holders, and
statement of fmancial affairs, and any other items required by Rule 1007.

CONCLUSION AND PRAYER
WHEREFORE, Krisu Hospitality, LLC, the debtor and debtor-in-possession respectfully
request that the Court enter an order (i) extending through and until December 4, 2019
the time permitted to file its schedules, list of equity security holders, and statement of
financial affairs, and any other items required by Rule 1007; and (ii) granting such other

and further relief to which the Debtor may be entitled at law or in equity.

 

MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
PURS UANT TO BANKRUPTCY RULE 1007 —- Page 41 [14]
Case 19-20347-rlj11 Doc 8 Filed 11/07/19 Entered 11/07/19 10:38:45 Page 4of5

Dated: November 6, 2019 Respectfully submitted:
SWINDELL LAW FIRM

By: = 4s/ Patrick A. Swindell

Patrick A. Swindell

State Bar No. 19587450

106 SW 7th Ave.

Amarillo, TX 79101

(806) 374-7979

(806) 374-1991 FAX

E-muil: pat@)swindellandassociates.com

PROPOSED ATTORNEYS FOR KRISU
HOSPITALITY, LLC , DEBTOR AND DEBTOR IN
POSSESSION

CERTIFICATE OF CONFERENCE

{s/f Patrick A. Swindell
Patrck A. Swindell

CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing item on November 5, 2019 was served upon (i) all
registered ECF users who have appeared in this case to date (including the United States Trustee) and
(iu) the twenty largest unsecured creditors.

sf Patrick A. Swindell
Patrick A. Swindell

 

MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
PURSUANT TO BANKRUPTCY RULE 1007 — Page 42 [14]
Case 19-20347-rlj11 Doc 8 Filed 11/07/19 Entered 11/07/19 10:38:45 Page5of5

PROPOSED ORDER

 

{13]
